                IN THE UNITED STATES DISTRICT COURT .
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         WESTERN DIVISION

                                NO. 5:20-CR-00388-8-D

UNITED STATES OF AMERICA

             v.                                  PRELIMINARY ORDER
                                                 OF FORFEITURE
HURLEY MATTHEW CANNADY

      WHEREAS, the above-named defendant has pleaded guilty pursuant to a

written plea agreement to Counts One and Thirteen of the Indictment, charging the

defendant with offenses in violation of 21 U.S.C. § 846 and 18 U.S.C. § 924(c)(l)(A);

      AND WHEREAS, the government has filed a motion for entry of a Preliminary
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Order of Forfeiture, showing unto the Court: that each item of property constitutes, .

or is derived from, proceeds obtained, directly or_ indirectly, as a result of the offenses

to which he pled guilty, and/or was used or intended to be used to commit or facilitate

the commission of the offenses to which he pleaded guilty, and is thereby subject to

forfeiture pursuant to 21 U.S.C. § 853(a); that each firearm and ammunition was

involved in or used in the offenses to which he pleaded guilty, or was in the

defendant's possession or immediate control at the time of arrest, and is therefore

subject to forfeiture pursuant to 18 U.S.C. § 924(d)(l) and/or 18 U.S.C. § 3665; and

that the defendant individually, or in combination with one or more co-defendants,

has or had an ownership, beneficial, possessory, or other legal interest in and/or

exercised dominion and control over each item of property that is subject to forfeiture

herein;
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       NOW, THEREFORE, based upon the defendant's guilty plea, the stipulations

contained in the Memorandum of Plea Agreement, the points and authorities in the

government's motion, and all of the evidence of record in this case, the Court FINDS

as fact and CONCLUDES as a matter oflaw that there is a nexus between each item

of property listed below and the offense(s) to ~hich the defendant has pleaded guilty,

and that the defendant (or any combination of defendants in th1s case) has or had an

interest in the property to be forfeited,

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

       1.    The following,property is forfeited to the United States pursuant to Fed.

R. Crim. P. 32.2(b)(2), 21 U.S.C. § 835(a), 18 U.S.C~ § 924(d)(l) and/or 3665:

             Personal Property:

              a)   $1,017.00 in US Currency seized on July 8, 2020 from HURLEY
                   MATTHEW CANNADY;              ;

             b)    A Glock 19 9mm semi-automatic handgun bearing serial number
                   BCCLOOO seized on July 8, 2020 from HURLEY MATTHEW
                   CANNADY; and

              c)   Any and all ammunition.

       2.    Pursuant to Fed. R. Crim. P. 32.2(b)(3), the U.S. Attorney General,

Secretary of the Treasury, Secretary of Homeland Security, or a designee is

authorized to seize, inventory, and otherwise maintain custody and control of the

property, whether held by the defendant or by a third-party. Any person who

knowingly destroys, damages, wastes, disposes of, transfers, or otherwise

takes any action with resp_ect to the property, or attempts to do so, for the

purpose of preventing or impairing the Government's lawful authority to

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take such property into its custody or control or to continue holding such

property under its lawful custody and control, may be subject to criminal

prosecution pursuant to 18 U.S.C. § 2232(a).                '

      3.     Pursuant to Fed. R. Crim. P. 32.2(b)(3) and 32.2(c)(l)(B), the United

States is authorized to . conduct any discovery pursuant to the applicable Federal

Rules of Civil Procedure needed to identify, locate, or dispose of the above-referenced

property, or other substitute assets, including depositions, interrogatories, requests

for production of documents and for admission, and the issuance of subpoenas.

      4.     If and to the extent required by Fed. R.- Crim. P. 32.2(b)(6), 21 U.S.C.

§ 853(n), and/or other applicable law, the United States shall provide notice of this

Order and of its intent to dispose of the specified real and/or personal property listed

above,. by publishing and sending notice in the same manner as in civil forfeiture

cases, as provided in Rule G( 4) of the Supplemental Rules for Admiralty or Maritime
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Claims and Asset Forfeiture Actions. The United States shall then file a Notice with

the Court documenting for the record:. (1) proof of publication, or the government's

reliance on an exception to the publication r~quirement found in Supplemental Rule

G(4)(a)(i); and (2) the government's efforts to send direct notice to all known potential

third-party claimants in accordance with Supplemental Rule G(4)(b)(iii), or a

representation that no other potential claimants are known to the government. This

Order shall not take effect as the Court's· Final Order of Forfeiture until an

appropriate Notice has been filed and the time in which any third parties with notice

of the forfeiture are permitted hr law to file a petition has expired.


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      5.    Any person other than the above-named defendant, having or

claiming any legal interest in the subject property must, within 30 days of

the final publication of notice or of receipt of actual notice, whichever is

earlier, petition the Court to adjudicate the validity of the asserted interest

pursuant to Fed. R. Crim. P. 32.2(c)(l) and 21 U.S.C. § 853(n)(2). The petition

must be signed by the petitioner under penalty of perjury and shall set

forth: the nature and extent of the .petitioner's right, title, or intel'.est i-n the

subject. property; the time and circumstances of the petitioner's acquisition

of the right, title, or interest in the property; any additional facts supporting

the petitioner's claim; and the relief sought.

      6.     The United States shall serve this Or'der on all counsel of record for any

co-defendant in this criminal matter. Such service shall constitute notice of the

forfeiture to each co-defendant who has appeared in this case within the purview of

Supplemental Rule G( 4)(b)(iii)(B). Any co-defendant who desires to. preserve

his/her right to contest the forfeiture of any of the property identified

herein must, no later than 30 days after entry of this Order, ,file a valid

petition pursu_ant to 21 U.S.C. § 853(n) and/or other appropriate objection as

to why the forfeiture sh6uld not become final. If no such filing is docketed

within the allotted time, each non-objecting co-defendant shall be deemed to have

waived any right to contest the forfeiture, this Order shall become a Final Order of

Forfeiture as to the property without a/ separate Preliminary Order of Forfeiture

being entered as to that co-defendant or incorporated into that co-defendant's


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criminal judgment, and the rights of that co-defendant in the subject property, if any,

shall be extinguished.

      7.     If one or more timely petitions are received by the Court, the Court will

enter a separate scheduling order governing the conduct of any forfeiture ancillary

proceedings under Fed. R. Crim. P. 32.2(c). Following the Court's disposition of all

timely filed petitions, a Final Order of Forfeiture that amends this Order as necessa-ry

to account for any third-party rights shall be entered pursuant to Fed. R. Crim. P.

32.2(c)(2) and 21 U.S.C. § 853(n)(6). The receipt of a petition as to one or more specific

items of property shall not delay this Order of Forfeiture from becoming final, in

accordance with the following paragraph, as to any remaining property to which no

petition has been filed.

      8.     If no third party f1les a timely petition, or if this Court denies and/or

dismisses all third party petitions timely filed, this Order shall become the Final

Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United States

shall dispose of the property according to law, including without limitation

liquidation by sale or any other commercially feasible means, destruction, and/or

retention or transfer of an asset for official use. The United States shall have clear

title to the property and may warrant good title to any subsequent purchaser or

transferee pursuant to 21 U.S.C. § 853(n)(7). If any firearm or ammunition subject

to this Order is in the physical custody of a state or local law enforcement agency at

the time this Order is entered, the custodial agency is authorized to dispose of the




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forfeited property by destruction or incapacitation'in accordance with its regulations,

when no longer needed as evidence.·

      9.     Upon sentencing and issuance of the Judgment and Commitment Order,

the Clerk of Court is DIRECTED to incorporate a reference to this Order of Forfeiture

in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), this Order shall

become final as to the defendant at sentencing.

      10.    The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

      SO ORDERED, this the .1=._ day of        Novu,.tb.4.A..            , 2021.




                                               J ~ S C. DEVER III
                                               UNITED STATES DISTRICT JUDGE




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